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 8                                      UNITED STATES DISTRICT COURT

 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA

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11      RALPH COLEMAN, et al.,                           No. 2:90-cv-0520 KJM DB P
12                         Plaintiff,
13             v.                                        ORDER
14      EDMUND G. BROWN, JR., et al.,
15                         Defendants.
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18                    On April 25, 2019, the court received the neutral expert’s monthly invoice for
19     services rendered through March 31, 2019. In accordance with the district court’s January 8,
20     2019 order, ECF No. 6064 at 5, the court reviewed the invoice. On April 29, 2019, at the
21     direction of the court, the courtroom deputy to the undersigned sent an email to the neutral expert
22     requesting “an itemization for the services rendered in connection with the $15,950.00 charge
23     billed for outside services/consultants, including a description of the services rendered, by whom
24     they were provided, the total hours spent, and the hourly rate billed.” The neutral expert
25     submitted the requested information on the same day.
26                    Following review of the additional information, on April 30, 2019, the neutral
27     expert’s proposed summary invoice was distributed to the parties. See ECF No. 6064 at 5. A
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                                                         1
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 1     copy of that summary invoice is filed concurrently with this order, along with the detailed billing

 2     summaries provided for the court’s review, under seal.1 Attachment A, Invoices dated March 12,

 3     2019 and April 6, 2019 (filed under seal). On May 7, 2019, defendants submitted objections to

 4     the proposed final invoice. See Attachment B, May 7, 2019 Letter from Supervising Deputy

 5     Attorney General Adriano Hrvatin to Honorable Deborah Barnes. On May 10, 2019, the neutral

 6     expert responded to defendants’ objections. See Attachment C, May 10, 2019 Letter from

 7     Benjamin B. Wagner, Esq. to Honorable Deborah Barnes.

 8                    The court has reviewed defendants’ objections and the neutral expert’s response to

 9     those objections. Defendants request that the court disclose all itemized billing records submitted

10     by the neutral expert now that his investigation is over. See Attachment B at 1. That request should

11     be directed to the district court. Cf. ECF No. 6083 at 4 (district court order holding, inter alia, that

12     “detailed billing statements [of the neutral expert] will be made a part of the record, filed under

13     seal, until the investigation is concluded, and so available for appellate review.”). The neutral

14     expert has responded to defendants’ specific billing item questions. See Attachment B at 1-2;

15     Attachment C at 1. Finally, defendants preserve “their objection to payment of this and future

16     invoices pending resolution of Defendants’ pending motion requesting leave to deposit any

17     remaining funds deemed payable” to the neutral expert and they request “that this Court defer

18     ordering payment of the current invoice until the Court resolves Defendants’ motion.” Attachment

19     B at 2. The latter request is controlled by the district court’s order denying defendants’ request for

20     stay pending ruling on their motion, ECF No. 6121, and is denied.
21                    Accordingly, good cause appearing, IT IS HEREBY ORDERED that:

22                    1. The Clerk of the Court is directed to maintain Attachment A to this order under

23                        seal until further order of court; and

24     ////

25     ////

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       1
         The detailed billing statements of the neutral expert will be maintained under seal pending
28     further order of the district court. See ECF No. 6083
                                                          2 at 2.
     Case 2:90-cv-00520-KJM-SCR          Document 6155        Filed 05/16/19     Page 3 of 3


 1                   2. Within ten business days from the date of this order defendants shall pay to the

 2     neutral expert the amount of $396,589.74 as reflected in the invoice for services rendered through

 3     March 2019.

 4                   IT IS SO ORDERED.
 5     Dated: May 16, 2019
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